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                                                                      Wednesday, 18 April, 2018 04:55:14 PM
                                                                              Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTERAL DISTRICT OF ILLINOIS
                               SPRINGFIELD, ILLINOIS

 SAJIDA AHAD, M.D., on behalf of herself and all         )
 others similarly situated,                              )
                            Plaintiffs,                  )
 v.                                                      )
                                                         )   No.    15-cv-03308-SEM-TSH
 BOARD OF TRUSTEES OF SOUTHERN                           )
 ILLINOIS UNIVERSITY and SIU PHYSICIANS                  )
 & SURGEONS, INC.,                                       )
                       Defendants.                       )

               PLAINTIFFS’ AGREED MOTION TO ADJUST THE
         COLLECTIVE ACTION DECERTIFICATION BRIEFING SCHEDULE

       Plaintiffs Sajida Ahad, M.D., Jan Rakinic, M.D., Christina Vassileva, M.D., and Erica

Rotondo, M.D., by and through their counsel, state the following in support of their agreed

motion to adjust the collective action decertification briefing schedule:

       1.      On September 29, 2017, this Court granted Plaintiff’s Motion for Conditional

Certification of an Equal Pay Act Collective Action (Dkt. 53), recognizing in its Opinion that

Defendants would have an opportunity to move to decertify the collective action at an

appropriate time.

       2.      On January 18, 2018, Defendants filed a Status Report Regarding Collective

Action Decertification Proceedings (Dkt. 80) in which Defendants submitted a proposed briefing

schedule for the collective action decertification proceedings.

       3.      The Court approved and entered that schedule on January 19, 2018 (Dkt. 81),

establishing the current briefing schedule as follows:

       Motion to Decertify the Collective Action to be filed                 April 20, 2018

       Response by Plaintiff to the Motion to Decertify to be filed          May 18, 2018

       Reply by Defendants in support of the Motion to be filed              June 1, 2018
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       4.      Both parties acknowledge the need to permit sufficient time to conduct discovery

and obtain transcripts of depositions to be used in the collective action decertification

proceedings, which Defendants consider crucial to the collective action decertification

proceedings.

       5.      The parties were able to schedule and conduct the deposition of Opt-In Plaintiff

Rotondo in California, but the parties require more time to conduct discovery regarding

decertification issues.

       6.      At present, the parties cannot anticipate the amount of time necessary to complete

discovery because, despite their efforts, the parties have been unable to schedule the depositions

of opt-in Plaintiffs Dr. Vassileva in Boston and Dr. Rakinic in Springfield.

       7.      Accordingly, Plaintiffs respectfully request that the Court permit the parties to

adjust the briefing schedule for Defendants’ forthcoming Motion to Decertify the Collective

Action and submit a proposed agreed schedule for entry by the Court on or before May 2, 2018.

       8.      Defendants’ Counsel Thomas Wilson informed the undersigned counsel for

Plaintiffs that Defendants agreed to the motion after reviewing it.

       WHEREFORE, with agreement by Defendants, Plaintiffs respectfully request the Court

strike the current briefing schedule for Defendants’ motion for decertification of the collective

action (Dkt. 81) and allow the parties to adjust it to permit discovery regarding decertification of

the opt in Plaintiffs’ Equal Pay Act claims and submit a proposed agreed briefing schedule for

Defendants’ motion on or before May 2, 2018.

                                              Respectfully submitted,

                                              /s/ J. Bryan Wood
                                              One of Plaintiffs’ Attorneys




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                                 CERTIFICATE OF SERVICE

       On April 18, 2018, the undersigned served the attached Plaintiffs’ Agreed Motion to

Adjust Collective Action Decertification Briefing Schedule on all counsel of record by filing it

via the Court’s electronic case filing system.

                                                 /s/ J. Bryan Wood
